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Attorneys for Plaintiff
UNITED STATES OF AMERICA
UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, CR No. 07-1223 (A) -GW

PLEA AGREEMENT FOR DEFENDANT
MOUSSA MAHMOUD MATAR

Plaintiff,
Vv.

MOUSSA MAHMOUD MATAR, et
al.,

Defendants.

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1. This constitutes the plea agreement between MOUSSA
MAHMOUD MATAR (“defendant”) and the United States Attorney's
Office for the Central District of California (“the USAO”) in
the above-captioned case. This agreement is limited to the
USAO and cannot bind any other federal, state or local
prosecuting, administrative or regulatory authorities.

PLEA
2. Defendant agrees to plead guilty to count two of the

superseding indictment in United States v. Moussa Mahmoud

 
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Matar, et al., CR No. 07-1223 (A)-GW.

 

NATURE OF THE OFFENSE

3. In order for defendant to be guilty of count two,
which charges a violation of Title 31, United States Code,
Section 5324(a) (1), the following must be true:

a. A domestic financial institution was required to file
a Currency Transaction Report;

b. Defendant caused or attempted to cause the domestic
financial institution to fail to file the required Currency
Transaction Report;

ec. Defendant did so for the purpose of evading the
reporting requirements of 31 U.S.C. § 5313.

Defendant admits that defendant is, in fact, guilty of this
offense as described in count one of the superseding
indictment.

PENALTIES

4. The statutory maximum sentence that the Court can
impose for a violation of Title 31, United States Code,
Section 5324(a) (1), is: five years imprisonment; a three-year
period of supervised release; a fine of $250,000; anda
mandatory special assessment of $100.00.

5. Supervised release is a period of time following
imprisonment during which defendant will be subject to various
restrictions and requirements. Defendant understands that if
defendant violates one or more of the conditions of any
supervised release imposed, defendant may be returned to

prison for all or part of the term of supervised release,

 
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which could result in defendant serving a total term of
imprisonment greater than the statutory maximum stated above.

6. Defendant also understands that, by pleading guilty,
defendant may be giving up valuable government benefits and
valuable civic rights, such as the right to vote, the right to
possess a firearm, the right to hold office, and the right to
serve on a jury.

7. Defendant further understands that the conviction in
this case may subject defendant to various collateral
consequences, including but not limited to deportation,
revocation of probation, parole, or supervised release in
another case, and suspension or revocation of a professional
license. Defendant understands that unanticipated collateral
consequences will not serve as grounds to withdraw defendant’s
guilty plea.

FACTUAL BASIS

8. Defendant and the USAO agree and stipulate to the
statement of facts provided below. This statement of facts is
sufficient to support a plea of guilty to the charge described
in this agreement and to establish the sentencing guideline
factors set forth in paragraph 11 below. It is not meant to
be a complete recitation of all facts relevant to the
underlying criminal conduct or all facts known to either party
that relate to that conduct.

On November 27, 2006, defendant and a person whose

identity is unknown deposited a total of $19,480 in

cash into bank accounts in the name of Denim Palace

at Bank of America. The deposit of a total of over

 
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$10,000 in cash on a single day into accounts in the
name of Denim Palace caused Bank of America to be
required to file a Currency Transaction Report.
However, bank records show that an unknown person
deposited a portion of that cash in the amount of
$9,500 at the Bell branch of Bank of America at
approximately 1:55 p.m., and that defendant
knowingly deposited the remaining portion, namely
$9,980, at the Bell branch of Bank of America at
approximately 3:41 p.m. that same day, as indicated
in bank records and the bank surveillance video. By
participating in the making of two cash deposits in
one day, each in an amount under $10,000, defendant
knowingly caused and attempted to cause Bank of
America, a domestic financial institution, to fail
to file a report required under 31 U.S.C. § 5313,
for the purpose of evading the reporting
requirements of 31 U.S.C. § 5313.
WAIVER OF CONSTITUTIONAL RIGHTS
9. By pleading guilty, defendant gives up the following
rights:
a) The right to persist in a plea of not guilty.
b) The right to a speedy and public trial by jury.
c) The right to the assistance of legal counsel at
trial, including the right to have the Court appoint counsel
for defendant for the purpose of representation at trial. (In
this regard, defendant understands that, despite his plea of

guilty, he retains the right to be represented by counsel --

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and, if necessary, to have the court appoint counsel if
defendant cannot afford counsel -- at every other stage of the
proceeding. )

d) The right to be presumed innocent and to have the
burden of proof placed on the government to prove defendant
guilty beyond a reasonable doubt.

e) The right to confront and cross-examine witnesses
against defendant.

f) The right, if defendant wished, to testify on
defendant’s own behalf and present evidence in opposition to
the charges, including the right to call witnesses and to
subpoena those witnesses to testify.

g) The right not to be compelled to testify, and, if
defendant chose not to testify or present evidence, to have
that choice not be used against defendant.

By pleading guilty, defendant also gives up any and all
rights to pursue any affirmative defenses, Fourth Amendment or
Fifth Amendment claims, and other pretrial motions that have
been filed or could be filed.

SENTENCING FACTORS

10. Defendant understands that the Court is required to
consider the factors set forth in 18 U.S.C. § 3553(a)(1)-(7),
including the kinds of sentence and sentencing range
established under the United States Sentencing Guidelines
(“U.S.S.G.” or “Sentencing Guidelines”), in determining
defendant’s sentence. Defendant further understands that the
Sentencing Guidelines are advisory only, and that after

considering the Sentencing Guidelines and the other § 3553(a)

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factors, the Court may be free to exercise its discretion to
impose any reasonable sentence up to the maximum set by
statute for the crime of conviction.

11. Defendant and the USAO agree and stipulate to the
following applicable sentencing guideline factors:

Base Offense Level : 6 [U.S.S.G. §251.3]

Value of the funds
involved in Count Two

($19,480) : +4 [U.S.S.G. §2B1.1(C)]
Acceptance of

Responsibility : -2 [U.S.S.G. §3E1.1]
Total Offense Level: 8

For purposes of this plea agreement, the government does not
allege that any enhancement applies for a pattern of illegal
activity involving more than $100,000 in a 12-month period.
The USAO will agree to a downward adjustment for acceptance of
responsibility (and, if applicable, move for an additional
level under § 3E1.1(b)) only if the conditions set forth in
paragraph 15 are met. Subject to paragraph 15, defendant and
the USAO agree not to seek, argue, or suggest in any way,
either orally or in writing, that any other specific offense
characteristics, adjustments or departures, relating to either
the applicable Offense Level or the Criminal History Category,
be imposed. If, however, after signing this agreement but
prior to sentencing, defendant were to commit an act, or the
USAO were to discover a previously undiscovered act committed
by defendant prior to signing this agreement, which act, in
the judgment of the USAO, constituted obstruction of justice

within the meaning of U.S.S.G. § 3Cl1.1, the USAO would be free

 
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to seek the enhancement set forth in that section.

12. There is no agreement as to defendant’s criminal
history or criminal history category.

13. Defendant and the USAO also agree and stipulate
that, taking into account the factors listed in 18 U.S.C. §
3553 (a) (1)-(7), the relevant Sentencing Guidelines effective
on November 1. 2006, represent a reasonable basis for the
Court to determine defendant’s sentence in this case, and
agree that defendant should be sentenced in accordance with
the Sentencing Guidelines. Therefore, subject to paragraph
15, defendant and the USAO agree not to seek, argue, or
suggest in any way, either orally or in writing, that the
Court (a) not follow the Sentencing Guidelines in imposing
sentence; (b) impose a sentence not in accordance with the
Sentencing Guidelines; or (c) impose a sentence outside the
sentencing range corresponding to the determined total offense
level; or (c) impose a sentence outside the sentencing range
for the total offense level stipulated to above.

14. The stipulations in this agreement do not bind
either the United States Probation Office or the Court. Both
defendant and the USAO are free to: (a) supplement the facts
by supplying relevant information to the United States
Probation Office and the Court, (b) correct any and all
factual misstatements relating to the calculation of the
sentence, and (c) argue on appeal and collateral review that
the Court’s Sentencing Guidelines calculations are not error,
although each party agrees to maintain its view that the

calculations in paragraph 11 are consistent with the facts of

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this case.
DEFENDANT’ S OBLIGATIONS
15. Defendant agrees that he will:

a) Plead guilty as set forth in this agreement.

b) Not knowingly and willfully fail to abide by all
sentencing stipulations contained in this agreement.

c) Not knowingly and willfully fail to: (i) appear
for all court appearances, (11) surrender as ordered for
service of sentence, (111) obey all conditions of any bond,
and (iv) obey any other ongoing court order in this matter.

a) Not commit any crime; however, offenses which
would be excluded for sentencing purposes under U.S.S.G. §
4A1.2(c) are not within the scope of this agreement.

e) Not knowingly and willfully fail to be truthful
at all times with Pretrial Services, the U.S. Probation
Office, and the Court.

f) Pay the applicable special assessment at or
before the time of sentencing unless defendant lacks the
ability to pay and submits a completed financial statement
(form OBD-500) to the USAO prior to sentencing.

g) Obtain all claimants’ signatures upon the
Stipulation for Entry of Consent Judgment in the related civil
forfeiture action, in the form attached hereto as Exhibit 1,
and obtain the signature of Mahmoud Matar on the Waiver and
Release of Claims to Contest Forfeiture in the form attached
hereto as Exhibit 2, and deliver the fully executed
Stipulation and Waiver to the government prior to sentencing.

h) Not assist any other individual in any effort

 
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falsely to contest the forfeiture of the assets described in
the forfeiture Stipulation.

i) Not claim that reasonable cause to seize the
assets described in the forfeiture Stipulation was lacking.

j) Prevent the disbursement of any and all assets
described in the forfeiture Stipulation if such disbursements
are within defendant’s direct or indirect control.

k) Not argue that forfeiture of assets described in
the Forfeiture stipulation shall be counted toward
satisfaction of any special assessment, fine, restitution, or
any other penalty the Court may impose.

THE USAO'’S OBLIGATIONS
16. If defendant complies fully with all defendant’s
obligations under this agreement, the USAO agrees:

a) To abide by all sentencing stipulations contained
in this agreement.

b) At the time of sentencing to move to dismiss the
remaining counts of the indictment as against defendant and
move to dismiss the underlying indictment.

c) At the time of sentencing, provided that

defendant demonstrates an acceptance of responsibility for the

-offense up to and including the time of sentencing, to

recommend a two-level reduction in the applicable sentencing
guideline offense level, pursuant to U.S.S.G. § 3E1.1, and to
recommend and, if necessary, move for an additional one-level
reduction if available under that section.

BREACH OF AGREEMENT

17. If defendant, at any time after the execution of

 
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this agreement, knowingly violates or fails to perform any of
defendant’s agreements or obligations under this agreement (‘a
breach”), the USAO may declare this agreement breached. If
the USAO declares this agreement breached at any time
following its execution, and the Court finds such a breach to
have occurred, then: (a) if defendant has previously entered a
guilty plea, defendant will not be able to withdraw the guilty
plea, and (b) the USAO will be relieved of all of its
obligations under this agreement.

18. Following the Court’s finding of a knowing and
willful breach of this agreement by defendant, should the USAO
elect to pursue any charge or any civil or administrative
action that was either dismissed or not filed as a result of
this agreement, then:

a) Defendant agrees that any applicable statute of
limitations is tolled between the date of defendant’s signing
of this agreement and the commencement of any such prosecution
or action.

b) Defendant gives up all defenses based on the
statute of limitations, any claim of pre-indictment delay, or
any speedy trial claim with respect to any such prosecution or
action, except to the extent that such defenses existed as of
the date of defendant’s signing this agreement.

c) Defendant agrees that: (i) any statements made by
defendant, under oath, at the guilty plea hearing (if such a
hearing occurred prior to the breach); (ii) the stipulated
factual basis statement in this agreement; and (iii) any

evidence derived from such statements, are admissible against

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defendant in any such prosecution of or action against
defendant, and defendant shall assert no claim under the
United States Constitution, any statute, Rule 410 of the
Federal Rules of Evidence, Rule 11(f) of the Federal Rules of
Criminal Procedure, or any other federal rule, that the
statements or any evidence derived from any statements should
be suppressed or are inadmissible.
WAIVER OF APPEAL AND COLLATERAL ATTACK

19. Defendant gives up the right to appeal any sentence
imposed by the Court, and the manner in which the sentence is
determined, provided that the sentence is within the statutory
maximum specified in paragraph 4 above and is constitutional.
Defendant also gives up any right to bring a post-conviction
collateral attack on the conviction or sentence, except a
post-conviction collateral attack based on a claim of
ineffective assistance of counsel, a claim of newly discovered
evidence, or an explicitly retroactive change in the
applicable Sentencing Guidelines, sentencing statutes, or
statutes of conviction. Notwithstanding the foregoing,
defendant retains the ability to appeal the conditions of
probation or supervised release imposed by the Court, with the
exception of the following: conditions set forth in General
Orders 318 and 01-05 of this Court; the drug testing
conditions mandated by 18 U.S.C. 8§§ 3563(a) (5) and 3583(d);
and the alcohol and drug use conditions authorized by 18
U.S.C. § 3563 (b) (7).

LIMITED MUTUAL WAIVER OF APPEAL

20. Defendant gives up the right to appeal any sentence

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imposed by the Court, and the manner in which the sentence is
determined, provided that (a) the sentence is within the
statutory maximum specified above and is constitutional, and
(b) the Court imposes a sentence within or below the range
corresponding to a total offense level of 8, and the
applicable criminal history category as determined by the
Court. Notwithstanding the foregoing, defendant retains any
ability defendant has to appeal the Court’s determination of
defendant’s criminal history category and the conditions of
probation or supervised release imposed by the Court, with the
exception of the following: conditions set forth in General
Orders 318, 01-05, and/or 05-02 of this Court; the drug
testing conditions mandated by 18 U.S.C. §§ 3563(a)(5) and
3583(d); and the alcohol and drug use conditions authorized by
18 U.S.C. § 3563(b) (7).

21. The USAO gives up its right to appeal the sentence,
provided that (a) the sentence is within the statutory maximum
specified above and is constitutional, and (b) the Court
imposes a sentence within or above the range corresponding to
a total offense level of 8, and the applicable criminal
history category as determined by the Court.

COURT NOT A PARTY

22. The Court is not a party to this agreement and need
not accept any of the USAO’s sentencing recommendations or the
parties’ stipulations. Even if the Court ignores any
sentencing recommendation, finds facts or reaches conclusions
different from any stipulation, and/or imposes any sentence up

to the maximum established by statute, defendant cannot, for

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that reason, withdraw defendant’s guilty plea, and defendant
will remain bound to fulfill all defendant’s obligations under
this agreement. No one -- not the prosecutor, defendant’s
attorney, or the Court ~- can make a binding prediction or
promise regarding the sentence defendant will receive, except
that it will be within the statutory maximum.
NO ADDITIONAL AGREEMENTS

23. Except as set forth herein, there are no promises,
understandings or agreements between the USAO and defendant or
defendant’s counsel. Nor may any additional agreement,
understanding or condition be entered into unless in a writing
signed by all parties or on the record in court.

PLEA AGREEMENT PART OF THE GUILTY PLEA HEARING

24. The parties agree and stipulate that this Agreement
will be considered part of the record of defendant’s guilty
plea hearing as if the entire Agreement had been read into the
record of the proceeding.

This agreement is effective upon signature by defendant
and an Assistant United States Attorney.
AGREED AND ACCEPTED

UNITED STATES ATTORNEY’S OFFICE
FOR THE CENTRAL DISTRICT OF CALIFORNIA

THOMAS P. O’BRIEN
United States Attorney

hovel © Dh bgvem Wi 2-1, 2009
ET C. HUDSON bate/
Assistant United States Attorney

This agreement has been read to me in Arabic, the

language I understand best, and I have carefully discussed

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every part of it with my attorney. I understand the terms of
this agreement, and I voluntarily agree to those terms. My
attorney has advised me of my rights, of possible defenses, of
the sentencing factors set forth in 18 U.S.C. § 3553(a), of
the relevant Sentencing Guidelines provisions, and of the
consequences of entering into this agreement. No promises or
inducements have been given to me other than those contained
in this agreement. No one has threatened or forced me in any
way to enter into this agreement. Finally, I am satisfied

with the representation of my attorney in this matter.

Sper 5.279

MOUSSA MAHMOUD MATAR Date
Defendant

I, Nohad Hanna, am fluent in written and spoken English
and Arabic languages. I accurately translated this entire

agreement mMy)English into Arabic to defendant MOUSSA MAHMOUD

   
  

MATAR on thi

 

 

NOHAD HANNA Date
Interpreter

I am Moussa Mahmoud Matar’s attorney. I have carefully
discussed every part of this agreement with my client.
Further, I have fully advised my client of his rights, of
possible defenses, of the sentencing factors set forth in 18
U.S.C. § 3553(a), of the relevant Sentencing Guidelines
provisions, and of the consequences of entering into this

agreement. To my knowledge, my client’s decision to enter

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into this agregment is an informed and voluntary one.

5S -27-9OS&
CORNELL PR Date

Counsel f£ Defendant

MOUSSA HMOUD MATAR

 

 

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EXHIBIT |
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Attorneys for Plaintiff
United States of America
UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION
UNITED STATES OF AMERICA, CV 08-02741 GW (PLAx)

STIPULATION FOR ENTRY OF
CONSENT JUDGMENT

Plaintiff,

Vv.
[PROPOSED ORDER FILED
$264,888.70 IN BANK ACCOUNT CONCURRENTLY]
FUNDS, AND $77,035.00,
$72,922.00, $18,095.00 IN U.S.
CURRENCY, AND $204,706.40

IN BANK ACCOUNT FUNDS,

Defendants.

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Plaintiff United States of America (the "government") and
claimants Moussa Matar, Feyrouz Matar, Mohamad Moussa Matar, Rana
Ahmed Ghasham (aka Rayna Ahmed Gashamp), Zeinab Matar, Nour
yousseff Saab, Ali Moussa Matar, Fatima Matar, and Ali Saleh,

hereby stipulate as follows:
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for filing claims and answers has expired. All potential claimants
to the defendant funds other than the undersigned are deemed to
have admitted the allegations of the Complaint and First Amended
Complaint (“FAC”).

5. It is the intention of plaintiff United States of America
and Moussa Matar, Feyrouz Matar, Mohamad Moussa Matar, Rana Ahmed
Ghasham (aka Rayna Ahmed Gashamp), Zeinab Matar, Nour Yousseff
Saab, Ali Moussa Matar, Fatima Matar, and Ali Saleh to resolve all
of their competing claims to the defendants by this Stipulation for

Entry of Consent Judgment.

6. The parties agree to the following disposition of the
defendants:
a. The United States shall have judgment in the present

forfeiture action against the interests of Moussa Matar, Feyrouz
Matar, Mohamad Moussa Matar, Rana Ahmed Ghasham (aka Rayna Ahmed
Gashamp), Zeinab Matar, Nour Yousseff Saab, Ali Moussa Matar,
Fatima Matar, and Ali Saleh, and all other potential claimants, in
all of the following defendants (collectively, the “Forfeited
Funds”) :

(1) $241,438.70 of the defendant $264,888.70 in Bank Account
Funds (which defendant is particularly described at
paragraphs 6(a)-(g) of the FAC); and

(2) All of the defendant $204,706.40 in Bank Account Funds
(which defendant is particularly described at paragraphs
8(a)-(e) of the FAC).

The Forfeited Funds shall be condemned and forfeited to the United
States of America upon entry of the accompanying Consent Judgment.

The United States Marshals Service shall dispose of the Forfeited

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Funds in accordance with law.

b. The United States shall return the remaining $23,450.00
of the defendant $264,888.70 in Bank Account Funds; and all of the
defendants $77,035.00, $72,922.00 and $18,095.00 in U.S. Currency,
plus all interest actually accrued thereon since the time of
seizure, to claimants, via one or more checks payable to Hussein A.
Chahine Client Trust Account. Not later than 30 days after the
court enters the accompanying Consent Judgment, said check(s) shall
be mailed to: Hussein A. Chahine; 33 South Catalina Avenue, Suite
202; Pasadena, California 91106.

7. Except as to such rights and obligations created by this
agreement, claimants Moussa Matar, Feyrouz Matar, Mohamad Moussa
Matar, Rana Ahmed Ghasham (aka Rayna Ahmed Gashamp), Zeinab Matar,
Nour Yousseff Saab, Ali Moussa Matar, Fatima Matar, and Ali Saleh,
release and agree to hold harmless the United States, and any
agents, servants, and employees of the United States (or any state
or local law enforcement agency), including without limitation the
Federal Bureau of Investigation, acting in their individual or
official capacities, from all claims, actions or proceedings,
including, but not limited to, any claim for attorney's fees and/or
costs, or interest, which may hereafter be asserted or brought by
any of them or on their behalf which arise out of the present
action.

8. Each party shall bear its own costs of litigation and
attorney's fees. Each party waives its right to appeal. The
parties agree that the Court's entry of the accompanying Consent
Judgment constitutes a certificate of reasonable cause pursuant to

28 U.S.C. § 2465(a) (2).

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9. The parties agree that the Court retains jurisdiction over
this case and the parties hereto to effectuate the terms of this
settlement.

10. Each of the undersigned represents that he/she has the
full power and authority (without further approvals or consents) to
enter into this Stipulation and perform the obligations set forth
herein.

11. The parties hereby stipulate and request that the Court
enter the accompanying Consent Judgment in this matter.

SO STIPULATED.

DATED: THOMAS P. O'BRIEN
United States Attorney
CHRISTINE C. EWELL
Assistant United States Attorney
Chief, Criminal Division
STEVEN R. WELK

Assistant United States Attorney
Chief, Asset Forfeiture Section

 

MONICA E. TAIT
Assistant United States Attorney

Attorneys for Plaintiff
UNITED STATES OF AMERICA

 

 

 

DATED:
MOUSSA MATAR, claimant
DATED:
FEYROUZ MATAR, claimant
DATED :
MOHAMAD MOUSSA MATAR, claimant
DATED :

 

RANA AHMED GHASHAM, aka Rayna Ahmed
Gashamp, claimant
(continued to next page)

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DATED:

DATED:

DATED:

DATED:

DATED:

DATED:

 

ZEINAB MATAR, claimant

 

NOUR YOUSSEFF SAAB, claimant

 

ALI MOUSSA MATAR, claimant

 

FATIMA MATAR, claimant

 

ALI SALEH, claimant

 

CORNELL J. PRICE

Attorney for Claimants MOUSSA

MATAR, FEYROUZ MATAR, MOHAMAD

MOUSSA MATAR, RANA AHMED GHASHAM (AKA
RAYNA AHMED GASHAMP), ZEINAB MATAR,
NOUR YOUSSEFF SAAB, ALI MOUSSA MATAR,
FATIMA MATER, AND ALI SALEH

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EXHIBIT 2
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WAIVER AND RELEASE
OF CLAIMS TO CONTEST FORFEITURE

I. INTRODUCTION.

A. Moussa Matar, Mohamed Matar, and Ali Matar
(“defendants”) have entered into a plea agreement with the United
States Attorneys Office for the Central District of California.

B. Defendants and certain non-defendants have agreed to
forfeit the following property to the United States pursuant to
18 U.S.C. §§ 981(a) (1) (A), (C), and 984:

(1) A portion of the $264,888.70 in bank funds seized by
Special Agents of the Federal Bureau of Investigation ("FBI") on
November 6, 2007 from accounts at Bank of America pursuant toa
federal seizure warrant. The seized funds are more particularly

described as follows:

a. $46,900.00 seized from an account ending in -0804;
b. $74,447.52 seized from an account ending in -1759;
Cc. $21,661.48 seized from an account ending in -3268;
da. $24,573.88 seized from an account ending in -2456;
e. $62,144.45 seized from an account ending in -4516;
£. $17,852.46 seized from an account ending in -1090;
g. $17,308.91 seized from an account ending in -3923.

(2) $204,706.40 in bank funds seized by Special Agents of
the FBI on or about February 21, 2008 from accounts at U.S. Bank
pursuant to a federal seizure warrant, and more particularly
described as follows:

a. $14,156.07 seized from an account ending in -2784;
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b. $112,626.21 from an account ending in -2792;
Cc. $25,394.53 from an account ending in -2800;
da. $28,027.00 from an account ending in -2826; and
e. $24,502.59 from an account ending in -2891.
on Mahmoud Matar is Moussa Matar’s son. Mahmoud Matar

resided at Moussa Matar’s Cudahy, California residence on or
about November 6, 2007, at the time of the seizure of $77,035.00
in United States Currency (“seized currency”) from the residence
by members of the Los Angeles Police Department or Special Agents
of the Federal Bureau of Investigation during the execution of a
state search warrant at the residence.
II. WAIVER AND RELEASE BY MAHMOUD MATAR

Mahmoud Matar hereby knowingly, voluntarily, and
intelligently waives, relinquishes, and surrenders all rights to
contest the forfeiture of the bank funds and seized currency
described in paragraphs I(B)-(C) above, and all rights to
judicial review of the seizure and/or forfeiture of those assets.

Dated:

 

Mahmoud Matar
